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                                                               13                                 UNITED STATES DISTRICT COURT

                                                               14                                EASTERN DISTRICT OF CALIFORNIA

                                                               15

                                                               16    PACIFIC BELL TELEPHONE COMPANY, a                   Case No. 2:23-cv-02892-KJM-CKD
                                                                     California Corporation,
                                                               17                                                        Assigned to The Hon. Kimberly J. Mueller
                                                                                    Plaintiff,
                                                               18                                                        STIPULATION TO EXTEND TIME
                                                                            v.
                                                               19                                                        TO RESPOND TO COMPLAINT
                                                                     ROSEBURG FOREST PRODUCTS CO., an
                                                               20    Oregon Corporation,                                 [LOCAL RULE 144]

                                                               21                   Defendant.
                                                               22

                                                               23          Pursuant to Local Rule 144, Plaintiff Pacific Bell Telephone Company (“AT&T”) and
                                                               24   Defendant Roseburg Forest Products Co. (“Roseburg”) (hereinafter collectively “the Parties”) hereby
                                                               25   stipulate and agree as follows:
                                                               26          WHEREAS, AT&T served the Summons and Complaint in this action on Roseburg on
                                                               27   December 12, 2023;
                                                               28          WHEREAS, Roseburg’s response to AT&T’s Complaint was first due January 2, 2024;
                                                                                                                   -1-           STIPULATION TO EXTEND TIME TO
                                                                                                                                        RESPOND TO COMPLAINT
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                                                                1          WHEREAS, on December 28, 2023, the Parties agreed and stipulated to extend Roseburg’s

                                                                2   deadline to respond to the Complaint by 28 days (ECF No. 9);

                                                                3          WHEREAS, the Parties subsequently agreed and entered into a second stipulation to extend

                                                                4   Roseburg’s deadline to respond to the Complaint by an additional 45 days (ECF No. 10), which the

                                                                5   Court ordered on January 26, 2024 (ECF No. 11), making the new deadline March 15, 2024;

                                                                6          WHEREAS, the Parties again agreed and entered into a third stipulation to extend Roseburg’s

                                                                7   deadline to respond to the Complaint by an additional 17 days (ECF No. 13), which the Court granted

                                                                8   via a minute order issued on March 14, 2024, making the new deadline April 1, 2024;

                                                                9          WHEREAS, the Parties again agreed and entered into a fourth stipulation to extend Roseburg’s

                                                               10   deadline to respond to the Complaint by an additional 15 days (ECF No. 18), which the Court ordered

                                                               11   on April 1, 2024 (ECF No. 19), making the new deadline April 16, 2024;
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                                                               12          WHEREAS, the Parties again agreed and entered into a fifth stipulation to extend Roseburg’s

                                                               13   deadline to respond to the Complaint by an additional 15 days (ECF No. 20), which the Court ordered

                                                               14   on April 17, 2024 (ECF No. 21), making the new deadline May 1, 2024;

                                                               15          WHEREAS, the Parties again agreed and entered into a sixth stipulation to extend Roseburg’s

                                                               16   deadline to respond to the Complaint by an additional 15 days (ECF No. 22), which the Court granted

                                                               17   via a minute order issued on May 3, 2024 (ECF No. 23), making the new deadline May 16, 2024;

                                                               18          WHEREAS, the Parties again agreed and entered into a seventh stipulation to extend

                                                               19   Roseburg’s deadline to respond to the Complaint by an additional 15 days (ECF No. 24), which the

                                                               20   Court granted via an order issued on May 20, 2024 (ECF No. 25), making the new (and current)

                                                               21   deadline May 31, 2024, cautioning that any further extensions would only be granted with a showing

                                                               22   of extraordinary cause;

                                                               23          WHEREAS, the Parties, after conferring, now wish to extend Roseburg’s current deadline to

                                                               24   respond to AT&T’s Complaint by an additional 14 days, making the new deadline June 14, 2024; and

                                                               25          WHEREAS, extraordinary cause exists to extend the deadline because (1) the Parties have an

                                                               26   agreement in principle to settle the action and are in the middle of memorializing the settlement

                                                               27   agreement; and (2) permitting Roseburg additional time to respond to AT&T’s Complaint will help

                                                               28   serve to accomplish this objective by giving the Parties time to finalize the agreement;
                                                                                                                     -2-           STIPULATION TO EXTEND TIME TO
                                                                                                                                          RESPOND TO COMPLAINT
                                                                      Case 2:23-cv-02892-KJM-CKD Document 27 Filed 05/31/24 Page 3 of 4


                                                                1          NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the Parties, through

                                                                2   their respective counsel, that Roseburg may have an additional 14 days to respond to AT&T’s

                                                                3   Complaint, up to and including Friday, June 14, 2024.

                                                                4          IT IS SO STIPULATED.

                                                                5

                                                                6                                                    HUNTON ANDREWS KURTH LLP

                                                                7    Dated: May 29, 2024                             By: /s/ Scott P. DeVries
                                                                                                                     Scott P. DeVries
                                                                8
                                                                                                                     Attorneys for Defendant
                                                                9                                                    ROSEBURG FOREST PRODUCTS CO.
                                                               10

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                                                                                                                     Thomas F. Koegel
                                                               15                                                    Rebecca M. Suarez
                                                               16                                                        /s/ Raymond P. Bolaños
                                                               17                                                    By: (as authorized on May 29, 2024)
                                                                                                                     Attorneys for Plaintiff
                                                               18                                                    PACIFIC BELL TELEPHONE COMPANY
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                                                                                                                   -3-          STIPULATION TO EXTEND TIME TO
                                                                                                                                       RESPOND TO COMPLAINT
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                                                                1                                                 ORDER

                                                                2          Given the parties' representations regarding settlement, the court finds good cause and

                                                                3   hereby GRANTS the Stipulation and ORDERS as follows.

                                                                4          Roseburg is granted an additional 14 days of extension to respond to AT&T’s Complaint, up

                                                                5   to and including June 14, 2024. As previously cautioned, no further extensions will be granted absent

                                                                6   a detailed showing of extraordinary cause.

                                                                7          IT IS SO ORDERED.

                                                                8   DATED: May 30, 2024.

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                                                                                                                    -4-           STIPULATION TO EXTEND TIME TO
                                                                                                                                         RESPOND TO COMPLAINT
